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 8                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 9                                           AT TACOMA

10    UNITED STATES OF AMERICA,
11                    Plaintiff,
                                                                   Case No. CR05-5547FDB
12            v.
                                                                   ORDER RELATING TO
13    KRISTOPHER KELLY NOLAN, SPENCER                              DEFENDANT TYLER LEE
      JOHN NOLAN, and TYLER LEE NOLAN,                             NOLAN’S MOTION TO SUPPRESS
14                                                                 STATEMENT
                      Defendant.
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             Before the court is the motion of Defendant Tyler Lee Nolan to suppress statements made by
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     his co-defendant Kristopher Nolan. In response, the Government states that if Kristopher Nolan
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     does not testify, it will want to offer his confession in a redacted form so that the jury will not be able
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     to infer that Defendant Tyler Lee Nolan was implicated. The court directs that the Government
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     submit its proposed redacted statement and limiting instruction so that the court may consider their
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     admissibility.
22
             ACCORDINGLY,
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             IT IS ORDERED:
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26   ORDER - 1
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 1        (1)    Plaintiff shall provide the court and Defendants with its proposed redacted statement

 2               and limiting instruction within 14 days from the date of this Order. Defendants may

 3               file a response within 7 days of receipt of Plaintiff’s proposals.

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 5        DATED this 10th day of November, 2005.

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                                                 FRANKLIN D. BURGESS
                                                 UNITED STATES DISTRICT JUDGE
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26   ORDER - 2
